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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )         CRIMINAL ACTION NO.
        v.                             )             2:22cr17-MHT
                                       )                 (WO)
DUSTIN ALLEN REED                      )

                                   ORDER

      Based on the representations made on the record on

August 4, 2023, it is ORDERED that defendant Dustin Allen

Reed’s conditions of supervised release, set forth in the

February 2023 supplemental order on treatment (Doc. 54),

are modified as follows:

      (1) Psychiatric consultation is required only as

indicated by defendant Reed’s mental-health provider.

      (2) Defendant Reed’s supervising probation officer

and    mental-health       provider        are   regularly    to    remind

defendant Reed of his SORNA obligations and regularly to

reinforce the “educational instruction” set forth in

paragraph (2) of the court’s February 2023 supplemental

order on treatment (Doc. 54).
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The court will not set any more status conferences.

DONE, this the 4th day of August, 2023.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE




                               2
